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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9
                                                                         10   JANE DOE, individually and on behalf of                        No. C 17-00496 WHA
                                                                         11   all others similarly situated,
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12                                                                  ORDER RE PLAINTIFF’S
                                                                         13     v.                                                           MOTION TO PROCEED
                                                                                                                                             UNDER PSEUDONYM
                                                                         14   NFL ENTERPRISES, LLC, et al.,

                                                                         15                  Defendants.
                                                                                                                           /
                                                                         16
                                                                         17                                          INTRODUCTION

                                                                         18          In this putative class action for antitrust violations, plaintiff moves for permission to

                                                                         19   proceed under a pseudonym. The motion is DENIED, subject to the last paragraph of this order.

                                                                         20                                            STATEMENT

                                                                         21          On January 31, plaintiff, a former cheerleader for the San Francisco 49ers, brought this

                                                                         22   action under the pseudonym Jane Doe. The complaint alleges the National Football League and

                                                                         23   its member clubs conspired to eliminate competition for recruiting cheerleaders and to keep

                                                                         24   cheerleaders’ wages below market value (e.g., Dkt. No. 1 at 3–4). On February 3, plaintiff filed

                                                                         25   the instant motion, claiming she “will be subject to harassment, injury, ridicule, or personal

                                                                         26   embarrassment if forced to maintain this action under her legal name” (Dkt. No. 5 at 2).

                                                                         27   Plaintiff’s counsel also submitted a declaration stating that he had discussed the motion with

                                                                         28   defense counsel the same day and requested that defendants stipulate to the motion, but received
                                                                              no response to his request (Dkt. No. 5-1).
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                                                                          1          This case was assigned to the undersigned on February 16. As of this order, defense
                                                                          2   counsel has neither appeared nor opposed plaintiff’s motion.
                                                                          3                                              ANALYSIS
                                                                          4          In this circuit, parties may use pseudonyms in unusual cases when nondisclosure of the
                                                                          5   party’s identity is necessary “to protect a person from harassment, injury, ridicule or personal
                                                                          6   embarrassment.” Does I thru XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1067–68 (9th
                                                                          7   Cir. 2000) (quoting United States v. Doe, 655 F.2d 920, 922 n.1 (9th Cir. 1981)). “[A] party
                                                                          8   may preserve his or her anonymity in judicial proceedings in special circumstances when the
                                                                          9   party’s need for anonymity outweighs prejudice to the opposing party and the public’s interest
                                                                         10   in knowing the party’s identity.” Id. at 1068.
                                                                         11          When a pseudonym is used “to shield the anonymous party from retaliation, the district
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                                                                         12   court should determine the need for anonymity” by evaluating (1) the severity of the threatened
                                                                         13   harm, (2) the reasonableness of the anonymous party’s fears, and (3) the anonymous party’s
                                                                         14   vulnerability to such retaliation. Ibid. “The court must also determine the precise prejudice at
                                                                         15   each stage of the proceedings to the opposing party . . . whether proceedings may be structured
                                                                         16   so as to mitigate that prejudice,” and “whether the public’s interest in the case would be best
                                                                         17   served by requiring that the litigants reveal their identities.” “[T]he balance between a party’s
                                                                         18   need for anonymity and the interests weighing in favor of open judicial proceedings may
                                                                         19   change as the litigation progresses.” Id. at 1069.
                                                                         20          Here, plaintiff contends cheerleaders need anonymity “to prevent overzealous fans from
                                                                         21   stalking or otherwise inappropriately contacting” them, and to protect them from “social
                                                                         22   stigmatization” on account of their revealing uniforms. According to plaintiff, these concerns
                                                                         23   are why all NFL cheerleaders appear “in public and on team websites” only with some degree
                                                                         24   of anonymity (for example, the 49ers’ website includes photographs of cheerleaders for only the
                                                                         25   current year and does not reveal their last names). Additionally, plaintiff does not want her true
                                                                         26   name to be associated with this lawsuit because “Former cheerleaders who have filed
                                                                         27   complaints against the NFL and various NFL teams have been subject to vicious online attacks
                                                                         28   and harassment, and even stalking” (Dkt. No. 5 at 3–4).


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                                                                          1          Plaintiff cites no actual threat of any harm against her specifically. Rather, she offers as
                                                                          2   proof of her need for anonymity the declaration of Caitlin Yates, another former NFL
                                                                          3   cheerleader who filed a class action against the NFL and the Oakland Raiders in 2014. Yates
                                                                          4   claims the media attention on her case prompted fans to find her online — despite her suing
                                                                          5   “under the relative anonymity of the name Caitlin Y.” — and call her “hurtful, demeaning and
                                                                          6   profane names” (Dkt. No. 5-2). Plaintiff also offers the declaration of Jessica Doe, who “was
                                                                          7   subject to constant harassment” and “stalked” during her time as a NFL cheerleader. Jessica
                                                                          8   Doe recounts that one fan followed her, masturbated to her photograph and outside her house,
                                                                          9   and made vulgar comments to her on numerous occasions. She also recalls being “grabbed
                                                                         10   inappropriately by fans” and “called terrible, demeaning, and vulgar names” (Dkt. No. 5-3).
                                                                         11          Notably, Yates, who describes retaliation directly linked to her role in a class action
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                                                                         12   against the NFL, suffered relatively unexceptional harassment, whereas Jessica Doe, who
                                                                         13   recounts incidents of relatively severe harassment and stalking, mentions nothing about
                                                                         14   participating in any lawsuit or even any public disclosure of her true name. The threat of the
                                                                         15   harms Jessica Doe describes seems to be based on cheerleading rather than on litigation or
                                                                         16   public identification (see, e.g., id. at 2 (“Some of my fellow cheerleaders experienced similar
                                                                         17   treatment.”)). These declarations, taken together, fail to show that plaintiff would necessarily
                                                                         18   endure severe harassment or stalking, or reasonably fears such harm, as a result of using her
                                                                         19   true name in this lawsuit. The declarations likewise fail to show that plaintiff is vulnerable to
                                                                         20   retaliation relative to, e.g., anyone else who might incur the wrath of loyal fans by suing the
                                                                         21   NFL. In short, plaintiff has not shown that she has a strong need for anonymity here.
                                                                         22          On the other hand, our courts belong to the people, and the public and press have a right
                                                                         23   to look over our shoulders to see how their court system is being used. This consideration
                                                                         24   counsels in favor of requiring true names of those who seek to sue others. See Doe v.
                                                                         25   Kamehameha Schs./Bernice Pauahi Bishop Estate, 596 F.3d 1036, 1042–43 (9th Cir. 2010);
                                                                         26   Jessica K. by and through Brianna K. v. Eureka City Schs. Dist., No. C 13–05854 WHA, 2014
                                                                         27   WL 689029, at *2 (N.D. Cal. Feb. 21, 2014); Doe v. Texaco, Inc., No. C 06-02820 WHA, 2006
                                                                         28   WL 2850035, at *6 (N.D. Cal. Oct. 5, 2006). This is particularly true where, as here, plaintiff


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                                                                          1   seeks to assert class damages claims for antitrust violations. Not only will the public have an
                                                                          2   interest in understanding the antitrust issues in question, but class members will also have a
                                                                          3   right to know the identity of their representative in this litigation (if the case goes that far).
                                                                          4   These interests outweigh the showing made by plaintiff here.
                                                                          5           Plaintiff cites Jane Roes 1-2 v. SFBSC Mgmt., LLC, 77 F. Supp. 3d 990 (N.D. Cal. Jan.
                                                                          6   12, 2015) (Judge Laural Beeler), a case involving exotic dancers, for the proposition that
                                                                          7   “highly sensitive” situations involving “social stigmatization” or “sexuality” warrant anonymity
                                                                          8   (see Dkt. No. 5 at 2). But SFBSC is distinguishable from our case. For example, in SFBSC,
                                                                          9   both sides agreed that “public disclosure of an exotic dancer’s true identity presents substantial
                                                                         10   risk of harm.” Id. at 992. Here, by contrast, plaintiff has not shown that public disclosure of
                                                                         11   her identity presents substantial risk of harm. Moreover, the suggestion that exotic dancers and
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                                                                         12   professional cheerleaders share comparable risks of stigmatization, ridicule, or embarrassment
                                                                         13   because the latter wear revealing uniforms is unpersuasive — particularly since the complaint
                                                                         14   emphasizes that professional cheerleaders are skilled “female athletes” but does not mention
                                                                         15   any sensitivity, stigmatization, or sexuality in the profession (see Dkt. No. 1).
                                                                         16                                              CONCLUSION
                                                                         17           For the foregoing reasons, plaintiff’s motion to proceed under a pseudonym is DENIED.
                                                                         18   For purposes of testing the pleadings, however, and assuming that defendants will move to
                                                                         19   dismiss under Federal Rule of Civil Procedure 12, the Court will allow plaintiff to use only her
                                                                         20   true first and last initials in pleadings for the time being. If defendants choose to answer rather
                                                                         21   than move under Rule 12, or if the complaint survives past the Rule 12 stage, then plaintiff will
                                                                         22   likely be required to re-file her complaint using her true full name.
                                                                         23
                                                                         24           IT IS SO ORDERED.
                                                                         25
                                                                         26   Dated: February 22, 2017.
                                                                                                                                          WILLIAM ALSUP
                                                                         27                                                               UNITED STATES DISTRICT JUDGE
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